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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION


PATRICK MOE,                           CASE NO.

ROBERT BLOSSER,
                                       HON.
JAMES BRATCHER,

WILLIAM BUKER,                         CIVIL ACTION

DEAN COSGRAY,
                                       COMPLAINT FOR
NICOLE GOULD,                          DECLARATORY AND
                                       INJUNCTIVE RELIEF AND
JESSE RAY LITTLETON,                   DAMAGES — CLASS ACTION

CARL LYNCH,

GEORGE SUPPAN,

MELVIN THOMPSON,

and

CODY USNER,

            Plaintiffs,

      v.

CITY OF AKRON,

MAYOR DONALD PLUSQUELLIC
(sued in his individual and official
capacities),

CHIEF JAMES NICE (sued in his
individual and official capacities),

JOHN MOORE (sued in his individual
and official capacities),

SGT. DOUGLAS SANDOR (sued in his
individual and official capacities),
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and

JOHN EATON (sued in his individual
and official capacities),

              Defendants.


       Plaintiffs, through their undersigned attorneys, state their Complaint against the

Defendants City of Akron (the “City”), Mayor Donald Plusquellic (“Mayor Plusquellic”),

Chief James Nice (“Chief Nice”), John Moore (“Mr. Moore”), Sgt. Douglas Sandor

(“Sgt. Sandor”), and John Eaton (“Mr. Eaton”) as follows:

                            PRELIMINARY STATEMENT

       1.      This is a case about a city policy designed to systematically seize and

destroy Akron homeless citizens’ shelters and other personal property.

       2.      In a series of raids occurring between 2010 and 2014, the Akron Police

Department (“APD”), with the assistance of the Akron Department of Public Service

(“ADPS”) and community-service crews overseen by the ADPS, seized and destroyed

property without sufficient notice to Plaintiffs, or with no notice at all. These events

were part of a policy and practice designed and implemented by the City.

       3.      Plaintiffs bring this civil rights action pursuant to 42 U.S.C. § 1983, to

vindicate rights protected by the Fourth, Fifth, and Fourteenth Amendments to the

United States Constitution. Plaintiffs also bring claims for violations of Article One,

Sections Fourteen, Sixteen, and Nineteen of the Ohio Constitution.

                            JURISDICTION AND VENUE

       4.      This Court has jurisdiction over Plaintiffs’ claims for violations of their

federal constitutional rights, pursuant to 28 U.S.C. § 1331 (federal question jurisdiction)



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and 28 U.S.C. § 1343(a)(3) (jurisdiction over federal constitutional claims). This Court

has supplemental jurisdiction over Plaintiffs’ state law claims pursuant to 28 U.S.C. §

1367(a), because these claims arise out of the same set of facts as the federal claims such

that all claims form part of the same case or controversy.

       5.       Venue lies in this district pursuant to 28 U.S.C. § 1391(b)(2), because a

substantial part of the events giving rise to the claim occurred in this district.

                                          PARTIES

                                       The Plaintiffs

       6.       Patrick Moe is a 45-year-old military veteran, who has been a homeless

citizen in Akron for the past three years, at times living in a tent shelter.

       7.       Robert Blosser is a 63-year-old man, who has been a homeless citizen in

Akron for the past five years, at times living in a tent shelter.

       8.       James Bratcher is a 22-year-old man, who has been a homeless citizen in

Akron for about a year, at times living in a tent shelter.

       9.       William Buker is a 63-year-old man, who has been a homeless citizen in

Akron for the past year and a half, at times living in a tent shelter.

       10.      Dean Cosgray is a 46-year-old man, who has been a homeless citizen in

Akron for the past seven years, at times living in a tent shelter.

       11.      Nicole Gould is a 30-year-old woman, who has been a homeless citizen

in Akron for the past three years, at times living in a tent shelter.

       12.      Jesse Ray Littleton is a 55-year-old man, who has been a homeless

citizen for the past eleven years, at times living in a tent shelter.

       13.      Carl Lynch is a 64-year-old man, who has been a homeless citizen in

Akron for the past two years, at times living in a tent shelter.


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       14.      George Suppan is a 55-year-old man, who has been a homeless citizen in

Akron for over a year, at times living in a tent shelter.

       15.      Melvin Thompson is a 43-year-old man, who has been a homeless citizen

in Akron area for the past two years, at times living in a tent shelter.

       16.      Cody Usner is a 23-year-old man, who has been a homeless citizen in

Akron for the past three years, at times living in a tent shelter.

                                     The Defendants

       17.      Defendant City of Akron is a municipal entity. Upon information and

belief, the City is responsible for establishing policies, procedures, and training

materials for the APD and ADPS.

       18.      Defendant Mayor Donald Plusquellic is the mayor of the city and has so

served since 1987. He is sued in his individual and official capacities. At all times

relevant to this Complaint, he has been vested with policymaking authority for the City.

By law, executive power of the city is vested in the mayor, and the mayor has the

authority to appoint and remove other city policymakers. Ohio Rev. Code §§ 733.01;

733.03. As the mayor, Defendant Plusquellic is recognized as the “official head of the

City” by the courts. Akron City Charter § 54.

       19.      Defendant Chief James Nice is Chief of Police of the APD. He is sued in

his individual and official capacities. At all times relevant to this Complaint, he has been

vested with policymaking authority for the APD. As Chief of Police, Defendant Nice has

immediate control of the APD, including the stationing and transferring of police

employees and the execution of the Mayor’s rules and regulations. Akron City Charter §

68.




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       20.      Defendant John Moore is Director of the ADPS.          He is sued in his

individual and official capacities.       At all times relevant to this Complaint,

Defendant Moore has been vested with policymaking authority for the ADPS.               As

director, Defendant Moore has immediate control of the ADPS, including the

management and supervision of “all public improvements, works and undertaking[s] in

the City,” including the “collection and disposal of waste.” Akron City Charter § 65.

       21.      Defendant Douglas Sandor is a Sergeant of the APD. He is sued in his

individual and official capacities.

       22.      Defendant John Eaton was Customer Service Administrator for the City

of Akron at all times relevant to this Complaint. He is sued in his individual and official

capacities.

       23.      Defendants at all relevant times and as to all relevant actions described

herein were persons acting under the color of state law.

                               FACTUAL ALLEGATIONS

                                The Homeless in Akron

       24.      The homeless in the Akron area are estimated to include between 800

and 900 people. The population includes both an estimated 100 to 250 chronically

homeless people, who have been homeless for at least a year, and sporadically homeless

people. Coalition on Homelessness and Housing in Ohio, 2013 Ohio Homelessness

Report: Abridged 2, 4 (2013). 1

       25.      Between 2007 and 2013, the number of homeless individuals in Ohio

increased by 741 people or 10.8 percent. U.S. Department of Housing and Urban


1 Available at
https://www.cohhio.org/files/2013%20Ohio%20Homelessness%20Report.pdf.

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Development, Office of Community Planning and Development, The 2013 Annual

Homeless Assessment Report (AHAR) to Congress 17, Ex. 2.6 (2013). 2

       26.      To meet the needs of the homeless community in Akron, private charities

provide tents, tarps, sleeping bags, meals, and other essentials necessary for homeless

individuals to survive in the elements. Other charities offer transitional housing and

limited homeless-shelter space.

       27.      For many of the homeless, the tents are their homes, providing vital

protection against the elements. Many homeless suffer from mental illness or addiction,

past or present, making their sense of security critical to their daily lives. Loss of safety,

security, and items of importance are particularly harmful to the homeless population’s

well-being.

                         The City’s Policies on the Homeless

       28.      Upon information and belief, beginning sometime between 2010 and

2012, business-owners in the area complained to City officials and policymakers about

homeless citizens living in secluded, wooded areas on the north end of town, particularly

along Furnace Street and Summit Street. Many of these business-owners demanded

that the APD and the Mayor’s Office address the presence of the homeless.

       29.      City policymakers designed a comprehensive strategy to restrict the

activities of the homeless community.

       30.      The City’s strategy included:

                a.     more aggressive enforcement of loitering and trespass laws;




2 Available at https://www.hudexchange.info/resources/documents/ahar-2013-
part1.pdf.

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               b.     a requirement that panhandlers obtain a license and abide by

                      greater restrictions on their activities; and

               c.     an effort to “clean up” tented communities north of downtown

                      Akron by seizing and destroying all items at those sites without

                      providing adequate notice, or without any notice at all, to affected

                      homeless citizens about the imminence of these seizures and

                      destruction of their property.

       The City’s Policy and Practice of Homeless Property Destruction

      31.      On information and belief, the City’s policy and practice of homeless

property destruction includes some number, or all, of the following steps:

               a.     the APD discovers a homeless tent site, either by way of a citizen’s

                      or business-owner’s complaint or an officer’s patrol;

               b.     the APD provides a verbal warning to homeless citizens that they

                      should leave, or provides no warning at all;

               c.     the APD and ADPS employees communicate internally about their

                      plan to seize and destroy the property;

               d.     the APD employees inform their supervisors of plans to conduct a

                      homeless property sweep;

               e.     the APD arranges for ADPS Community Service crews to provide

                      assistance with the cleanup;

               f.     the APD arranges for a City-owned dump truck or privately-

                      owned vehicle to accompany them to the campsite, in order to

                      transport homeless citizens’ belongings directly from the campsite

                      to a landfill; and


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                g.    the APD and ADPS Community Service crews arrive at a campsite,

                      tell any homeless citizens present that they must leave but provide

                      no information in the event the homeless citizens are not present;

                      seize and confiscate all visible property; and transport the

                      property to a landfill or otherwise destroy the property.

      32.       On information and belief, this policy and practice does not include:

                a.    notice to homeless citizens of the City’s intent to seize and destroy

                      their property;

                b.    an opportunity for a hearing, either prior to the seizure or prior to

                      the destruction of property; or

                c.    any communication with the homeless property-owners of how

                      they   may      reclaim       any   remaining   property   or   receive

                      compensation for property that has already been destroyed.

      33.       On information and belief, Defendants typically destroyed the personal

property immediately after seizure.

      34.       City employees have, however, informed homeless citizens that it is

permissible for them to set up their tents at some of the same sites where the City has

later seized and destroyed their tents and other personal property.

              The City Ratifies Its Policy of Seizing and Destroying
            Homeless Citizens’ Property Without Notice and a Hearing

      35.       Defendants have been made aware of the policy and practice of seizing

and destroying homeless citizens’ property without notice and a hearing, and they have

ratified it by acknowledging it. The APD listed one of its unit’s “accomplishments” for




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the year 2010 as “assist[ing] with the homeless tent city eviction.” Akron Police Dept.,

Annual Report, at 7 (2010). 3

         36.     Defendants have been made aware of this policy and practice, and they

have ratified it by failing to investigate or stop it.

         37.     Defendants have authorized their agents and spokespersons to defend

this policy and practice in the media.

         38.     Defendant Sandor informed Defendant Nice of efforts through early

2012 to clean up—what he characterized as—“all the garbage that is in the tent city

area.”

         39.     Upon information and belief, Defendant Plusquellic was made aware of

the City’s policy via complaints from the community concerning the seizure and

destruction of homeless citizens’ property.

         40.     Akron Deputy Director of Public Safety Phil Montgomery acknowledged

a city “initiative” “to relocate a homeless population as they were trespassing on railroad

property” in a November 2013 e-mail to multiple city recipients, including

representatives of City Planning, the APD, and the Mayor’s Office, as well as the

Downtown Akron Partnership consortium of businesses.

         41.     On information and belief, Defendant Plusquellic reviewed and approved

City spokespersons’ statements to the media defending the policy and practice as

implemented in November 2013.




3 Available at
http://www.akronohio.gov/cms/resource_library/files/a1d15599114c93dd/2010_apd_
annual_report.pdf.

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       42.      On information and belief, all Defendants were aware that the items

being destroyed constituted the homeless citizens’ shelters and basic living essentials,

and not merely abandoned property or trash.

       43.      On information and belief, the City’s policy and practice of seizing and

destroying homeless citizens’ property without adequate or any notice continued from

2010 until the present.

       44.      The City’s policy and practice has resulted in the destruction of

irreplaceable personal property.       The destroyed items include legal documents,

identification, and military honors and awards.

       45.      The City’s policy and practice of destroying homeless’ people’s property

has left numerous homeless citizens bereft of their basic essentials of life, such as

sleeping bags, tents, tarps, and clothing.

                          Pre-Nov. 6, 2013 Property Sweeps

       46.      On information and belief, the City and its agents seized and destroyed

property at 18 homeless campsites in November 2010. The City continued this effort in

the years to follow.

       47.      On information and belief, the City and its agents seized and destroyed

property from multiple homeless campsites on or about August 27, 2013. Both APD and

ADPS participated in the seizure and destruction, under the planning and direction of

Defendant Sandor and Defendant Eaton.

       48.      On information and belief, the City and its agents seized and destroyed

property at multiple homeless campsites on or around September 2013.

       49.      On information and belief, the City and its agents planned and executed

additional homeless property sweeps between 2010 and 2013.


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       50.      On information and belief, numerous homeless citizens received no

warning or notice before or during the aforementioned property sweeps.

       51.      On information and belief, those who did receive notice that their camps

were impermissible were not warned of the City’s plan to seize and destroy property, nor

did the notice afford any homeless citizens an opportunity to contest the planned seizure

and destruction. Rather, the “warnings” were general warnings that they should leave

the site.

                            The Nov. 6, 2013 Property Sweeps

       52.      On Nov. 6, 2013, the City and its agents executed their policy and

practice by seizing and destroying numerous homeless citizens’ tents and personal

belongings.

       53.      On information and belief, Defendants often defended the seizure and

destruction of property as limited to “removal of trash” but acknowledged the presence

of homeless peoples’ tents.

       54.      On information and belief, numerous homeless citizens received no

warning or notice at all.

       55.      On information and belief, those who did receive notice that their camps

were impermissible were not warned of the City’s plan to seize and destroy property, nor

did the notice afford any homeless citizens an opportunity to contest the planned seizure

and destruction. Rather, the “warnings” were general warnings that they should leave

the site.

       56.      The APD and ADPS seized and destroyed homeless citizens’ property at

multiple campsites on the north end of Akron, including near Summit Street, Furnace

Street, Howard Street, and the railroad.


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       57.      City officials acknowledged that the property sweeps resulted in the

destruction of property: “Items taken in the sweep were thrown away, city officials said.”

Jim Carney, Akron, Nonprofit Groups Discuss Moving Homeless Relief Away from

Northside Area, Akron Beacon J., Dec. 2, 2013. 4

       58.      The sweeps were an “effort” by APD that “was done in cooperation with

various city entities,” under the supervision of Defendants Nice, Sandor, and Eaton.

                            Post-Nov. 6, 3013 Property Sweeps

       59.      On information and belief, the City and its agents seized and destroyed

property from multiple homeless campsites in or around December 2014.

       60.      On information and belief, the City and its agents seized and destroyed

property from multiple homeless campsites in or around March 2014.

       61.      On information and belief, the City and its agents seized and destroyed

property from multiple homeless campsites on or around September 5, 2014.

       62.      On information and belief, numerous homeless citizens received no

warning or notice at all.

       63.      On information and belief, those who did receive notice that their camps

were impermissible were not warned of the City’s plan to seize and destroy property, nor

did the notice afford any homeless citizens an opportunity to contest the planned seizure

and destruction. Rather, the “warnings” were general warnings that they should leave

the site.




4Available at http://www.ohio.com/news/local/akron-nonprofit-groups-discuss-
moving-homeless-relief-away-from-northside-area-1.449305.

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The City’s Policy of Seizure and Destruction of Plaintiffs’ Property Without
Adequate Notice and a Hearing Deprives Plaintiffs of Shelter and Valuable
                               Personal Items

       64.     The APD and ADPS conducted the November 6, 2013 sweep at the onset

of winter.

       65.     The APD and ADPS knew or reasonably should have known that seizing

and destroying homeless citizens’ shelter, clothing, and winter gear prior to dangerously

cold temperatures and extreme weather conditions would leave the homeless citizens

more vulnerable to harm.

       66.     The APD and ADPS knew or reasonably should have known that seizing

and destroying homeless citizens’ shelter during all aforementioned property sweeps

would also cause great harm to the Plaintiffs.

       67.     The APD and ADPS knew or reasonably should have known that seizing

personal documents and mementos would cause mental anguish.

       68.     Defendants acted with deliberate indifference to the constitutional rights

and survival needs of the homeless citizens.

Unconstitutional Seizure and Destruction of Mr. Moe’s Personal Belongings

       69.     As a direct result of the City’s policies and practices, APD and ADPS

seized and destroyed all of Mr. Moe’s personal belongings including his tent, which was

his residence at the time, and his financial documents, military documents, and

countless personal items, during the November 6, 2013 sweep.

       70.     As a direct result of the City’s policies and practices, APD and ADPS did

not provide Mr. Moe with notice that his property would be destroyed.




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       71.     As a direct result of the City’s policies and practices, APD and ADPS did

not provide Mr. Moe with an opportunity to contest the seizure and destruction of his

property, nor to reclaim his property after the seizure.

       72.     Mr. Moe has not been able to recover any of his belongings after the

November 6, 2013 sweep.

       73.     The APD and ADPS conducted the November 6, 2013 sweep at the onset

of winter. The APD and ADPS knew or reasonably should have known that taking

shelter, clothing, and winter gear prior to dangerous temperature drops and extreme

weather conditions would leave Mr. Moe more vulnerable to harm.

                   Unconstitutional Seizure and Destruction of
                       Mr. Blosser’s Personal Belongings

       74.     As a direct result of the City’s policies and practices, APD and ADPS

seized and destroyed Mr. Blosser’s property on November 6, 2013. The APD and ADPS

seized and destroyed Mr. Blosser’s tent, which was his residence at the time, and his

military discharge papers, his food, his pallets, his clothing, and his tenting supplies

during the property sweep.

       75.     As a direct result of the City’s policies and practices, APD and ADPS

never provided notice to Mr. Blosser that his property would be seized and destroyed.

The APD and ADPS also did not inform Mr. Blosser how he could object to the seizure

and destruction of his property or how he could recover items after they were

confiscated by APD officers.

       76.     As a direct result of the City’s policies and practices, Mr. Blosser did not

recover any items seized by the APD and ADPS.




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       77.     Mr. Blosser lives in constant fear that the APD and ADPS will seize and

destroy his tent and personal belongings again.

       78.     Out of fear of further APD and ADPS sweeps, Mr. Blosser waited seven

days before attempting to procure another tent. He was in the freezing elements. It has

been very difficult for Mr. Blosser to replace his tenting supplies, afford new clothes, and

replace his government-issued documents after the sweeps.

       79.     The APD and ADPS conducted the November 6, 2013 sweep at the onset

of winter. The APD and ADPS knew or reasonably should have known that taking

shelter, clothing, and winter gear prior to dangerous temperature drops and extreme

weather conditions would leave Mr. Blosser more vulnerable to harm.

                    Unconstitutional Seizure and Destruction of
                       Mr. Bratcher’s Personal Belongings

       80.     As a direct result of the City’s policies and practices, APD and ADPS

seized and destroyed Mr. Bratcher’s property on November 6, 2013. The APD and

ADPS destroyed Mr. Bratcher’s tent, which was his residence at the time, and his

clothing, mail, and other personal effects during the property sweep.

       81.     As a direct result of the City’s policies and practices, APD did not provide

Mr. Bratcher adequate notice that they intended to seize and destroy his property.

       82.     The APD and ADPS never informed Mr. Bratcher how he could object to

the seizure and destruction of his property or how he could recover items after they were

confiscated by APD officers.

       83.     As a direct result of the City’s policies and practices, Mr. Bratcher could

not recover any items seized by APD and ADPS.




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         84.   Mr. Bratcher lives in constant fear that the APD and ADPS will seize and

destroy his tent and personal belongings again.

         85.   The APD and ADPS conducted the November 6, 2013 sweep at the onset

of winter. The APD and ADPS knew or reasonably should have known that taking

shelter, clothing, and winter gear prior to dangerous temperature drops and extreme

weather conditions would leave Mr. Bratcher more vulnerable to harm.

                  Unconstitutional Seizure and Destruction of
                      Mr. Buker’s Personal Belongings

         86.   On or about November 5, 2013, an APD officer informed Mr. Buker of

the sweep planned for the next day. This officer advised Mr. Buker to move his tent,

tarp, and personal belongings.

         87.   Mr. Buker packed up his tent, tarp, and personal property, and he placed

them under a tree some distance away from the campsite where the APD officer

indicated the sweep would occur.

         88.   Nonetheless, and as a direct result of the City’s policies and practices,

APD and ADPS seized and destroyed Mr. Buker’s tent, which was his residence at the

time, and his tarp, sleeping bags, clothing, and phone during the November 6, 2013

sweep.

         89.   As a direct result of the City’s policies and practices, Mr. Buker was

provided inadequate notice that his property would be seized and destroyed by APD and

ADPS.

         90.   Defendants denied Mr. Buker the opportunity to contest the seizure or

reclaim his property.




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       91.      Mr. Buker was unable to recover any of his personal items, despite

attempting to do so.

       92.      Two days after his property was taken, Mr. Buker went to the police

station to report the seizure of his property.

       93.      The APD employees informed Mr. Buker that items taken from the

campsites were thrown in the dump.

       94.      Mr. Buker lives in constant fear that the APD and ADPS will seize and

destroy his tent and personal belongings again.

       95.      The APD and ADPS conducted the November 6, 2013 sweep at the onset

of winter. The APD and ADPS knew or reasonably should have known that taking

shelter, clothing, and winter gear prior to dangerous temperature drops and extreme

weather conditions would leave Mr. Buker more vulnerable to harm.

                   Unconstitutional Seizure and Destruction of
                       Mr. Cosgray’s Personal Belongings

       96.      As a direct result of the City’s policies and practices, APD and ADPS

seized and destroyed Mr. Cosgray’s property in September of 2013. The APD and ADPS

seized and destroyed Mr. Cosgray’s tents, which were his residence at the time, and his

fishing gear, sleeping bag, clothing, and important documents, including his birth

certificate and his children’s addresses, during the property sweep.

       97.      As a direct result of the City’s policies and practices, APD did not provide

Mr. Cosgray with notice that they intended to seize and destroy his property.

       98.      The APD and ADPS never informed Mr. Cosgray how he could object to

the seizure and destruction of his property or how he could recover items after they were

confiscated by APD officers.



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        99.    As a direct result of the City’s policies and practices, Mr. Cosgray did not

recover any items seized by the APD and ADPS.

        100.   Mr. Cosgray lives in constant fear that the APD and ADPS will seize and

destroy his tent and personal belongings again.

        101.   The APD and ADPS knew or reasonably should have known that taking

shelter, clothing, and important documents would leave Mr. Cosgray more vulnerable to

harm.

                 Unconstitutional Seizure and Destruction of
               Ms. Gould’s and Mr. Usner’s Personal Belongings

        102.   As a direct result of the City’s policies and practices, APD raided

Ms. Gould’s and Mr. Usner’s campsite in early March 2014.

        103.   The APD seized and destroyed Ms. Gould’s and Mr. Usner’s tents, which

were their residence at the time, and their clothes, mp3 player, hospital scrubs, and

personal journal.

        104.   Upon information and belief, APD continued the practice of seizing and

destroying Ms. Gould and Mr. Usner’s tents and other personal property in both March

and August of 2014.

        105.   As a direct result of the City’s policies and practices, APD did not provide

notice to Ms. Gould or Mr. Usner that they would seize and destroy their property on

either occasion.

        106.   As a direct result of the City’s policies and practices, APD did not provide

Ms. Gould or Mr. Usner an opportunity for a hearing or an opportunity to reclaim their

property on either occasion.




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      107.     Ms. Gould and Mr. Usner live in constant fear that the APD and ADPS

will seize and destroy their tent and personal belongings again.

                  Unconstitutional Seizure and Destruction of
                     Mr. Littleton’s Personal Belongings

      108.     As a direct result of the City’s policies and practices, APD and ADPS

seized and destroyed Mr. Littleton’s property on or about September 5, 2014. The APD

and ADPS seized and destroyed Mr. Littleton’s tent, which was his residence at the time,

and his clothing, mail and other important documents during the property sweep.

      109.     Mr. Littleton saw the APD in the area of his campsite on the morning of

September 5, 2014, at approximately 7:30 a.m. As a direct result of the City’s policies

and practices, APD did not provide Mr. Littleton with notice that they intended to seize

and destroy his property.

      110.     The APD and ADPS never informed Mr. Littleton how he could object to

the seizure and destruction of his property or how he could recover items after they were

confiscated by APD officers.

      111.     As a direct result of the City’s policies and practices, Mr. Littleton did not

recover any items seized by the APD and ADPS.

      112.     Mr. Littleton lives in constant fear that the APD and ADPS will seize and

destroy his tent and personal belongings again.

      113.     The APD and ADPS knew or reasonably should have known that taking

shelter, clothing, and important documents would leave Mr. Littleton more vulnerable

to harm.




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                   Unconstitutional Seizure and Destruction of
                       Mr. Lynch’s Personal Belongings

      114.      As a direct result of the City’s policies and practices, APD and ADPS

seized and destroyed Mr. Lynch’s property on November 6, 2013. The APD and ADPS

seized and destroyed Mr. Lynch’s tents, which were his residence at the time, and his

radio, sleeping bag, clothing, and important documents, including his birth certificate,

during the property sweep.

      115.      As a direct result of the City’s policies and practices, APD and ADPS

never provided notice to Mr. Lynch that his property would be seized and destroyed.

The APD and ADPS never informed Mr. Lynch how he could object to the seizure and

destruction of his property or how he could recover items after they were confiscated by

APD officers.

      116.      As a direct result of the City’s policies and practices, Mr. Lynch did not

recover any items seized by the APD and ADPS.

      117.      Mr. Lynch lives in constant fear that the APD and ADPS will seize and

destroy his tent and personal belongings again.

      118.      The APD and ADPS conducted the November 6, 2013 sweep at the onset

of winter. The APD and ADPS knew or reasonably should have known that taking

shelter, clothing, and winter gear prior to dangerous temperature drops and extreme

weather conditions would leave Mr. Lynch more vulnerable to harm.

                   Unconstitutional Seizure and Destruction of
                       Mr. Suppan’s Personal Belongings

      119.      On or about November 5, 2013, an APD officer informed Mr. Suppan of

APD’s plans to conduct homeless property sweeps in the near future.




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         120.   On the morning of November 6, 2013, the officer informed Mr. Suppan

that APD would be conducting the sweep in approximately an hour.

         121.   Mr. Suppan packed up his tent, tarp, and personal property, and he

placed them under a tree some distance away from the campsite where the APD officer

indicated the sweep would occur. Mr. Suppan did not have sufficient time to move all of

his belongings to another campsite prior to the planned property sweep.

         122.   As a direct result of the City’s policies and practices, APD and ADPS

seized and destroyed Mr. Suppan’s tent, which was his residence at the time, and his

clothes, shoes, marriage and divorce papers, toiletries, jewelry, phones and chargers,

and winter supplies including warm boots, during the November 6, 2013 sweep.

         123.   As a direct result of the City’s policies and practices, Mr. Suppan was

provided with insufficient notice that his property would be seized and destroyed by

APD and ADPS, and he was not given the opportunity to contest the seizure or reclaim

his property.

         124.   Mr. Suppan was not able to recover any of his belongings after the

sweep.

         125.   Without winter gear, Mr. Suppan was exposed to the elements of the

Akron fall and winter for the remainder of November, December, January, and

February.

         126.   As a consequence, Mr. Suppan was hospitalized for frostbite. As a result

of the frostbite, Mr. Suppan had two toes amputated. He was hospitalized for over a

month and spent significant time in a rehabilitation center afterwards, where he had to

learn how to walk again. Mr. Suppan continues to suffer severe pain in both feet and

has difficulty walking and maintaining his balance.


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      127.     Prior to the sweep, Mr. Suppan performed odd jobs as a handyman and

physical laborer. As a result of the City’s actions, he will be unable to do this kind of

work again and has applied for disability benefits to meet his survival needs.

      128.     The APD and ADPS conducted the November 6, 2013 sweep at the onset

of winter. The APD and ADPS knew or reasonably should have known that taking

shelter, clothing, and winter gear prior to dangerous temperature drops and extreme

weather conditions would leave Mr. Suppan more vulnerable to harm.

                  Unconstitutional Seizure and Destruction of
                    Mr. Thompson’s Personal Belongings

      129.     As a direct result of the City’s policies and practices, APD seized and

destroyed Mr. Thompson’s personal belongings from the Furnace Street area during the

November 6, 2013 sweep.

      130.     As a direct result of the City’s policies and practices, APD did not provide

Mr. Thompson with adequate notice that they intended to seize and destroy his

property.

      131.     As a direct result of the City’s policies and practices, APD did not provide

Mr. Thompson an opportunity for a hearing or the opportunity to reclaim his property.

      132.     On information and belief, APD seized and destroyed Mr. Thompson’s

tent, which was his residence at the time, and his personal property that was kept at the

campsite.

      133.     Mr. Thompson lives in constant fear that the APD and ADPS will seize

and destroy his tent and personal belongings again.

      134.     The APD and ADPS conducted the November 6, 2013 sweep at the onset

of winter. The APD and ADPS knew or reasonably should have known that taking



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shelter, clothing, and winter gear prior to dangerous temperature drops and extreme

weather conditions would leave Mr. Thompson more vulnerable to harm.

                           CLASS ACTION ALLEGATIONS

       135.     Plaintiffs bring this class action pursuant to Fed. R. Civ. P. 23(a),

23(b)(2), and 23(c)(4) on behalf of themselves and all others similarly situated, seeking

equitable, declaratory, and injunctive relief. Plaintiffs seek damages for themselves only

individually and not for the class.

       136.     The proposed class includes homeless individuals and families, as

defined by 42 U.S.C. § 11302, located in Akron from October 1, 2013, to the present,

whose property was seized and destroyed by Defendants or are at risk of having their

property seized and destroyed by Defendants pursuant to Defendants’ policies and

practices.

       137.     “Homeless”     individuals   and   families   are   defined,   pursuant   to

42 U.S.C. § 11302, as those:

                a.   who lack a regular, fixed, or adequate nighttime residence;

                b.   whose primary nighttime residence is a public or private place not

                     designed or ordinarily used as regular sleeping accommodations for

                     human beings; or

                c.   who live in publically or privately operated shelters that are

                     designated to provide temporary living arrangements.

       138.     Upon information and belief, the members of the class are so numerous

that individual joinder of all members of the class would be impracticable. Current data

indicates that there are between 100 to 250 chronically homeless individuals in Akron

with another 600 to 700 sporadically homeless people. Joinder is also impracticable


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because many of the class members are unaware of their legal rights and are unlikely to

seek legal representation.

      139.     Common questions of law and fact exist as to all members of the class

and predominate over any questions that affect sole individual members of the class.

The questions of law and fact common to the class are:

               a.   the legality of Defendants’ seizures and destruction of property

                    owned by Plaintiffs and members of the class;

               b.   the failure of Defendants to provide Plaintiffs and members of the

                    class sufficient notice before the seizure and destruction of their

                    property;

               c.   the existence of the policy, pattern, and practice of Defendants to

                    seize and destroy property owned by Plaintiffs and members of the

                    class;

               d.   whether Defendants’ seizures and destruction of property owned by

                    Plaintiffs and members of the class violated their Fourth

                    Amendment right to be free of unreasonable seizures;

               e.   whether Defendants’ seizures and destruction of property owned by

                    Plaintiffs and members of the class violated their Fourteenth

                    Amendment rights by depriving them of property without due

                    process of law;

               f.   whether Defendants’ seizures and destruction of property owned by

                    Plaintiffs and members of the class violated their civil rights

                    pursuant to 42 U.S.C § 1983 and their substantive due process

                    rights under the Fourteenth Amendment by depriving them of


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                      fundamental rights—their homes and their belongings—which are

                      vital to their emotional and physical well-being;

                 g.   whether Defendants’ seizures and destruction of property owned by

                      Plaintiffs and members of the class violated their rights under

                      Article One, Section Fourteen of the Ohio Constitution to be free of

                      unreasonable seizures;

                 h.   whether Defendants’ seizures and destruction of property owned by

                      Plaintiffs and members of the class violated their due process rights

                      under Article One, Section Sixteen of the Ohio Constitution; and

                 i.   whether Defendants’ seizures and destruction of property owned by

                      Plaintiffs and members of the class violated their right to

                      compensation for the government’s taking of private property

                      under Article One, Section Nineteen of the Ohio Constitution.

       140.      The claims of the named Plaintiffs are typical of the claims of the class.

Defendants have subjected the named Plaintiffs and other members of the class to

identical or substantially similar unlawful policies and practices. Defendants’ continued

pursuit of these unlawful policies and practices puts Plaintiffs and other class members

at risk of the further infringement of their rights by Defendants.

       141.      Plaintiffs will fairly and adequately protect the interests of the members

of the class. Plaintiffs have no interests that are adverse or antagonistic to those of the

class because all homeless individuals will benefit from a change to Defendants’ policies

and practices.

       142.      Plaintiffs have retained as counsel the Milton A. Kramer Law Clinic

Center of Case Western Reserve University School of Law.                  Multiple attorney


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supervisors in the Law Clinic are experienced in class action litigation and can

adequately represent the interests of the class members as well as those named as

plaintiffs.

       143.     Defendants have acted on grounds generally applicable to both the

named Plaintiffs and other class members. Thus, final declaratory and injunctive relief

is appropriate with respect to members of the class. The injuries suffered by the named

Plaintiffs and other class members as a result of Defendants’ actions are capable of

repetition yet may evade review, thereby making individual and class relief appropriate.

       144.     Plaintiffs envision no difficulty in the management of this litigation as a

class action.

                                 CAUSES OF ACTION

                           FIRST CAUSE OF ACTION
          Violation of Civil Rights Pursuant to Title 42 U.S.C. § 1983
         and the Fourth Amendment to the United States Constitution
               (Right to Be Secure from Unreasonable Seizures)

       145.     Plaintiffs re-allege and incorporate by reference each and every

allegation contained in the preceding paragraphs as though fully set forth herein.

       146.     Defendants violated Plaintiffs’ Fourth Amendment rights to be free from

unreasonable seizure of their property by confiscating and then destroying Plaintiffs’

property often without notice of the seizure of the property, let alone notice of the

destruction of the property.

       147.     Defendants seized Plaintiffs’ property pursuant to a City policy and

practice of seizing and destroying the property of homeless citizens.




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       148.     The APD and ADPS, which executed the property seizures, acted

pursuant to a City policy and practice and with the specific intent to deprive Plaintiffs of

their constitutional rights to be secure in their property.

       149.     Defendants acted unreasonably in seizing and destroying the Plaintiffs’

property without giving them notice of the removal or destruction of their property.

       150.     Defendants acted unreasonably by not providing the Plaintiffs with an

opportunity to retrieve their property before it was destroyed. All property was seized

and destroyed immediately.

       151.     As a direct and proximate consequence of the policies and acts of

Defendants and their agents and employees, Plaintiffs have suffered and continue to

suffer loss of their personal property and are entitled to compensatory damages for that

loss, and declaratory and injunctive relief to prevent the recurrence of Defendants’

deprivations.

                        SECOND CAUSE OF ACTION
         Violation of Civil Rights Pursuant to Title 42 U.S.C. § 1983
      and the Fourteenth Amendment to the United States Constitution
                     (Right to Procedural Due Process)

       152.     Plaintiffs re-allege and incorporate by reference each and every

allegation contained in the preceding paragraphs as though fully set forth herein.

       153.     The Due Process Clause of the Fourteenth Amendment to the United

States Constitution prohibits Defendants from depriving Plaintiffs of life, liberty, or

property without due process of law.

       154.     Plaintiffs have a recognized property interest in their tents and personal

belongings stored in these tents. This property interest is protected by the Fourteenth

Amendment.



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       155.     Defendants knowingly disregarded Plaintiffs’ constitutional right to

notification prior to seizing and destroying their personal property.

       156.     Defendants never gave Plaintiffs reasonable notice prior to the seizure

and destruction of their personal property.

       157.     The property sweeps conducted by Defendants deprived Plaintiffs of

their property interest because Plaintiffs’ personal property was summarily seized and

destroyed.

       158.     Defendants violated Plaintiffs’ procedural due process rights when they

seized and destroyed Plaintiffs’ personal property without giving Plaintiffs notice of the

impending seizure and destruction, which would have afforded Plaintiffs an opportunity

to challenge the seizure and destruction or reclaim their belongings.

       159.     Defendants’ policy and practice of seizing and destroying homeless

citizens’ property without any notice has no relation to any legitimate local government

purpose. Defendants do not have a compelling state interest or rational basis for the

policy and practice.

       160.     As a direct and proximate consequence of the policies, practices, and acts

of Defendants and their agents and employees, Plaintiffs have suffered and continue to

suffer loss of their personal property and are entitled to compensatory damages for that

loss and declaratory and injunctive relief to prevent the recurrence of Defendants’

deprivations.




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                         THIRD CAUSE OF ACTION
         Violation of Civil Rights Pursuant to Title 42 U.S.C. § 1983
      and the Fourteenth Amendment to the United States Constitution
                     (Right to Substantive Due Process)

       161.     Plaintiffs re-allege and incorporate by reference each and every

allegation contained in the preceding paragraphs as though fully set forth herein.

       162.     Defendants’ policy and practice of seizing and destroying Plaintiffs’

property deprives Plaintiffs of fundamental rights—their homes and their belongings—

which are vital to their emotional and physical well-being.

       163.     Defendants knew or should have reasonably known that depriving this

vulnerable group of individuals of their homes and personal property would threaten

their ability to survive.

       164.     Defendants placed Plaintiffs in danger of substantial harm, and Plaintiffs

suffered substantial harm as a result of Defendants’ policy and practice.

       165.     Plaintiffs’ interests in survival outweigh Defendants’ governmental

interests in conducting their policy and practice.

       166.     As a direct and proximate consequence of the policies and acts of

Defendants and their agents and employees, Plaintiffs have suffered and continue to

suffer loss of their property and are entitled to compensatory damages for their property

and declaratory and injunctive relief to prevent the recurrence of Defendants’

deprivations.




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                          FOURTH CAUSE OF ACTION
       Violation of Civil Rights Guaranteed Under the Ohio Constitution
                         (Article One, Section Fourteen)

        167.    Plaintiffs re-allege and incorporate by reference each and every

allegation contained in the preceding paragraphs as though fully set forth herein.

        168.    The Ohio Constitution guarantees the right of people to be secure against

unreasonable seizures. Art. I, § 14.

        169.    The Ohio Constitution further guarantees that warrants for seizures shall

not issue absent probable cause and a particular description of the intended seizure.

Art. I, § 14.

        170.    Defendants’ policy and practice of seizing and destroying Plaintiffs’

property violated Plaintiffs’ rights to be secure in their persons, houses, papers, and

possessions, against unreasonable seizures.

        171.    Defendants’ policy and practice further violated Plaintiffs’ rights under

Article I, Section 14 by subjecting them to seizures absent any warrant particularly

describing the person and things to be seized, and absent any warrant at all.

        172.    As a direct and proximate consequence of the policies and acts of

Defendants and their agents and employees, Plaintiffs have suffered and continue to

suffer loss of their property and are entitled to compensatory damages for their property

and declaratory and injunctive relief to prevent the recurrence of Defendants’

deprivations.




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                           FIFTH CAUSE OF ACTION
      Violation of Civil Rights Guaranteed Under the Ohio Constitution
                         (Article One, Section Sixteen)

       173.     Plaintiffs re-allege and incorporate by reference each and every

allegation contained in the preceding paragraphs as though fully set forth herein.

       174.     The Ohio Constitution guarantees due process of law for injuries to

citizens’ property. It guarantees the administration of justice without denial or delay for

such injury. Art. I, § 16.

       175.     On information and belief, Defendants’ policy and practice of seizing and

destroying Plaintiffs’ property without notice and an opportunity for a hearing has

deprived Plaintiffs of their due process rights.

       176.     As a direct and proximate consequence of the policies and acts of

Defendants and their agents and employees, Plaintiffs have suffered and continue to

suffer loss of their personal property and are entitled to compensatory damages for their

property and declaratory and injunctive relief to prevent the recurrence of the

Defendants’ deprivations.

                           SIXTH CAUSE OF ACTION
      Violation of Civil Rights Guaranteed Under the Ohio Constitution
                        (Article One, Section Nineteen)

       177.     Plaintiffs re-allege and incorporate by reference each and every

allegation contained in the preceding paragraphs as though fully set forth herein.

       178.     The Ohio Constitution guarantees that compensation be made to the

owner when private property is seized by the government. Art. I, § 19.

       179.     On information and belief, Defendants’ policy and practice of seizing and

destroying Plaintiffs’ property has never included compensation for the property seized

from the affected homeless citizens.


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      180.     Defendants’ policy and practice of seizing and destroying Plaintiffs’

property without compensation violated their constitutional rights under Article I,

Section 19.

      181.     As a direct and proximate consequence of the policies and acts of

Defendants and their agents and employees, Plaintiffs have suffered and continue to

suffer loss of their personal property and are entitled to compensatory damages for their

property.

                            DEMAND FOR JURY TRIAL

      Plaintiffs demand a trial by jury.

                               PRAYER FOR RELIEF

      Plaintiffs request judgment against Defendants as follows:

        a.     A declaration that the City’s policy and practice of seizing and destroying

               homeless citizens’ property with insufficient or no notice, without a

               hearing, and without the opportunity to reclaim such property, violates

               the United States and Ohio Constitutions;

        b.     A permanent injunction preventing the City from continuing to execute

               its policy and practice of destroying homeless citizens’ property with

               insufficient or no notice, without a hearing, and without the opportunity

               to reclaim such property;

        c.     Compensatory and consequential damages for each individually named

               Plaintiff in an amount to be determined at trial;

        d.     Punitive damages on all claims allowed by law, in an amount to be

               determined at trial;

        e.     Attorney fees and costs associated with this action; and


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       f.    Any further relief as this Court deems just and proper and any other

             relief as allowed by law.


                                         Respectfully submitted,

                                         /s/Avidan Y. Cover________
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DATED: October 3, 2014




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